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                                         EXHIBIT A

                                         Amendment




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                                                                                      Execution Version

                                             BARCLAYS
                                          745 Seventh Avenue
                                          New York, NY 10019
                                                                                       CONFIDENTIAL
                                                                                         October 8, 2018
Mattress Firm, Inc.
10201 S. Main St.
Houston, Texas 77025
Attention: Hendre Ackermann and Kindel Elam

                            Amendment to Exit Facilities Commitment Letter
Ladies and Gentlemen:

                Reference is made to that certain Exit Facilities Commitment Letter (the “Exit
Commitment Letter”), dated as of October 4, 2018 between Mattress Firm, Inc. (“you” or the
“Company”) and Barclays Bank PLC (“Barclays, the “Arranger”, “we” or “us”). The Company, the
Arrangers and the other signatories hereto agree to amend the Exit Commitment Letter (this
“Amendment”) on the terms set forth herein. Capitalized terms used but not otherwise defined herein
shall have the meanings ascribed to them in the Exit Commitment Letter.

1.      Amendment.

A.      The Company and Arranger hereby agree to replace in its entirety the last sentence of Section 15
of the Exit Commitment Letter with the following:

        “This Exit Facilities Commitment Letter and the Exit Facilities Fee Letter shall be of no
        force and effect unless executed by you and delivered to us within the time frame
        required by the initial sentence of this Section 15.”

B.      The Company and Arranger hereby agree to replace in its entirety clause (k) of Annex I to
Exhibit B of the Exit Commitment Letter with the following:

        “(k) Approval of Commitment Letter and Payment of Fees. (i) The Debtors shall have
        filed on the Petition Date a motion to approve the Commitment Letter and the
        Commitment Fee and shall have used their best efforts to obtain the approval by the
        Bankruptcy Court of the Commitment Fee as a super-priority administrative expense of
        each of the Debtors pursuant to an order in form and substance acceptable to the Agent
        and Lenders at the earliest practicable date, and such order shall have become a final
        order of the Bankruptcy Court, for which the time for taking of any appeal or petition for
        writ of certiorari shall have passed, and shall not have been stayed, reversed, vacated,
        amended, supplemented or modified without the prior written consent of the Agent and
        the Lenders. (ii) The Commitment Letter, the Commitment Fee, and all fees required to
        be paid on the Closing Date to Agent, the Arranger and the Lenders shall have been
        approved as superpriority administrative expenses of each of the Debtors by the
        Bankruptcy Court pursuant to an order in form and substance acceptable to the Agent and
        Lenders within 25 days of the Petition Date, which order shall have become a final order
        of the Bankruptcy Court, for which the time for taking of any appeal or petition for writ
        of certiorari shall have passed, and shall not have been stayed, reversed, vacated,
        amended, supplemented or modified without the prior written consent of the Agent and
        the Lenders. (iii) The Borrower shall have paid all fees required to be paid on the Closing
        Date to Agent, the Arranger and the Lenders and shall have reimbursed Agent, the


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        Arranger and the Lenders for all fees, costs and expenses of closing presented as of the
        Closing Date.”

2.      Effect of Amendment.

         Except as specifically amended by this Amendment, the Exit Commitment Letter and the Exit
Facilities Fee Letter shall remain in full force and effect. This Amendment shall be construed in
connection with and form part of the Exit Commitment Letter and the Exit Facilities Fee Letter and any
reference to any of the Exit Commitment Letter and the Exit Facilities Fee Letter shall be deemed to be a
reference to the Exit Commitment Letter and the Exit Facilities Fee Letter, as applicable, each as
amended by this Amendment. This Amendment may not be amended or modified, or any provision
hereof waived, except by an instrument in writing signed by the parties hereto. This Amendment, the Exit
Commitment Letter and the Exit Facilities Fee Letter set forth the entire agreement between the parties
hereto and supersede all prior understandings, whether written or oral, between the parties hereto with
respect to the matters herein.

3.      Governing Law; Etc.

          THIS AMENDMENT AND ANY CLAIM, CONTROVERSY OR DISPUTE ARISING
UNDER OR RELATED TO THIS AMENDMENT (INCLUDING, WITHOUT LIMITATION, ANY
CLAIMS SOUNDING IN CONTRACT LAW OR TORT LAW ARISING OUT OF THE SUBJECT
MATTER HEREOF) SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH,
THE LAWS OF THE STATE OF NEW YORK AND, TO THE EXTENT APPLICABLE, THE
BANKRUPTCY CODE.

            EACH OF THE PARTIES HERETO IRREVOCABLY WAIVES THE RIGHT TO
TRIAL BY JURY IN ANY ACTION, PROCEEDING, CLAIM OR COUNTERCLAIM BROUGHT BY
OR ON BEHALF OF ANY PARTY RELATED TO OR ARISING OUT OF THIS AMENDMENT OR
THE PERFORMANCE OF SERVICES HEREUNDER OR THEREUNDER.

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                                   BARCLAYS BANK PLC


                                   By
                                        Name: Joseph Jordan
                                        Title: Managing Director




       [Signature Page to Amendment to Exit Facilities Commitment Letter]
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